          Case 2:18-cv-01135-AJS Document 20 Filed 06/17/19 Page 1 of 1
                     IN THE UNITED ST ATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF PENNSYLVANIA
                                 PITTSBURGH DIVISION


WENDELL H. STONE COMPANY, INC.
d/b/a STONE & COMPANY, individually and
on behalf of all others similarly situated,
                                                             Case No. 2: 18-cv-0 1135-AJS
                             Plaintiff,

V.

PC SHIELD INC., an Oklahoma corporation,

                             Defendant.

      ~ ORDER GRANTING PLAINTIFF'S MOTJON FOR LEAVE TO
              FILE AN AMENDED COMPLAINT AND TO CONDUCT DISCOVERY

         Pending before the Court is Plaintiffs Motion for Leave to File an Amended Complaint

and to Conduct Discovery ("Motion"). Having considered the Motion and being duly advised in

the premises, it is hereby ORDERED as follows:

         1.       The Motion is GRANTED;
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         2.       Plaintiff shall have i@UI teen ( 14) dar from tl~i da~0 of this Qi.;d0r to file its First

Amended Complaint; and

         3.       Following service of the First Amended Complaint and an opportunity to respond,

Plaintiff may conduct discovery relevant to the allegations of its First Amended Complaint.
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IT IS SO ORDERED.                                             r                        .




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